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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

   THOMSON REUTERS ENTERPRISE                      )
   CENTRE GMBH and WEST PUBLISHING                 )
   CORPORATION,                                    )
                                                   )
                         Plaintiffs and            )
                         Counterdefendants,        )
                                                   )
          v.                                       )   C.A. No. 20-613 (SB)
                                                   )
   ROSS INTELLIGENCE INC.,                         )
                                                   )
                         Defendant and             )
                         Counterclaimant.          )

        PLAINTIFFS AND COUNTERDEFENDANTS’ MOTION FOR A LIMITED
        EXEMPTION FROM THE STANDING ORDER REGARDING PERSONAL
                          ELECTRONIC DEVICES

         Plaintiffs and Counterdefendants Thomson Reuters Enterprise Center GmbH and West

  Publishing Corporation (“Thomson Reuters”) hereby moves for an order to exempt Dale Cendali,

  Yungmoon Chang, Eric Loverro, Miranda Means, Joshua Simmons, and Jeremy King from the

  District of Delaware’s May 17, 2024 Standing Order on Procedures Regarding the Possession and

  Use of Cameras and Personal Electronic Devices by Visitors to the J. Caleb Boggs Federal

  Building and United States Courthouse (the “May 17, 2024 Standing Order”). In support of this

  Motion, Thomson Reuters states as follows:

         1.      The District of Delaware’s May 17, 2024 Standing Order provides procedures to

  regulate the possession and use of personal electronic devices by visitors to the J. Caleb Boggs

  Federal Building and United States Courthouse, which require inter alia, for visitors to place

  personal electronic devices in a locked pouch provided by U.S. Marshals. Paragraph 4 of the May

  17, 2024 Standing Order provides for certain exemptions to the Standing Order.

         2.     A pretrial conference is scheduled for April 9, 2025, in Courtroom 4A.
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         3.        Thomson Reuters requests Dale Cendali, Yungmoon Chang, Eric Loverro, Miranda

  Means, Joshua Simmons and Jeremy King, co-lead counsel, be allowed to bring their electronic

  devices into the courtroom for use during the hearing. Ms. Cendali, Ms. Chang, Mr. Loverro, Ms.

  Means, Mr. Simmons, and Mr. King have been admitted pro hac vice in this matter, but do not

  have access to a state-issued bar card.

         WHEREFORE, Thomson Reuters respectfully requests that the Court issue an order to

  exempt Ms. Cendali, Ms. Chang, Mr. Loverro, Ms. Means, Mr. Simmons, and Mr. King from the

  May 17, 2024 Standing Order.


                                                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                  /s/ Michael J. Flynn

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   April 2, 2025


         IT IS SO ORDERED this ___ day of April, 2025.


                                              The Hon. Stephanos Bibas
